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Ad91 (Rev. 11/11) Criminal Complaint


                                       UNITED STATES DISTRICT COURT
                                                                  forthe                                                  8 2017

                                                     Western District of Texas

                    United States of America                        )                                                        DEPUTY


                   Abraham MEDRANO-Valles                                  Case No.
                                                                                                           -



                            Defendant(s)


                                                CRIMINAL COMPLAINT
         the complainant in this case, state that the following is true to the best of my knowledge and belief
           1,

On or about the date(s) of             July 19, 2017                in the county of            El Paso                        in the
        Western          District of         Texas            ,   the defendant(s) violated:

                 Code Section                                                Offense Description
Title 21 U.S.C. § 841 (a)(1) / 846             Defendant did knowingly and intentionally conspire to possess with the intent
                                               to distribute approximately 14.95 kilograms (gross weight) of cocaine, a
                                               Schedule II controlled substance;




          This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT




            J'   Continued on the attached sheet.



                                                                                               Complainant 's signature

                                                                                      Vance Belyeu - HSI Special Agent
                                                                                            Printed name and title

Sworn to before me and signed in my presence.


Date:               11/08/2017
                                                                                                  Judge 's signature

City and state:                        El Paso, Texas                          Robert F. Castaneda - U.S. Magistrate Judge
                                                                                           Printed name and title
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                                 Attachment A
                                      AFFIDAVIT



1.   On July 19, 2017, Special Agents (SAs) with Homeland Security Investigations (HSI)
     conducted surveillance at Abraham GORDILLO's residence located at 1606 "A"
     Hartsdale Drive, Horizon, Texas. During surveillance an HSI undercover agent (UCA-1)
     was in telephonic communication with an associate of MEDRANO's. UCA-1 was
     "posing" as a transportation coordinator who had the capabilities to transport multi-
    kilogram quantities of cocaine across the United States for a transportation fee.
    MEDRANO's associate asked UCA-1 if he/she was willing to transport multi-kilogram
    quantities of cocaine from El Paso, Texas to Chicago, Illinois. UCA- 1 informed
    MEDRANO's associate that he/she would be able to transport the cocaine.
    MEDRANO's associate then informed UCA-1 that he would have someone deliver 18
    kilograms of cocaine to UCA-1 's driver. UCA-1 then provided MEDRANO's associate
    with his/her truck drivers telephone number and told MEDRNAO's associate to have the
    person delivering the cocaine to call the truck driver. UCA-1 's truck driver was a second
    HSI UCA who will be identified as UCA-2.
2. At approximately 3:03 p.m., UCA-2 received a call from a Hispanic male utilizing
    telephone number (915) 301-6560. Database checks revealed Abraham MEDRANO of
    1606 Hartsdale Drive, Horizon, Texas was the user of the telephone number. UCA-2
    then informed MEDRANO that he/she was waiting to meet with MEDRANO in the Best
    Buy parking lot located at 1864 Joe Battle, El Paso, Texas. MEDRANO told UCA-2
    who would be heading to UCA-2's location soon.
3. At approximately 3:56 p.m., agents observed MEDRANO walk out of his residence
    while carrying a large cardboard box and place the box in the trunk of a black Chevy
    Cruze parked in the driveway bearing Chihuahua registration EML5077. Agents
    observed a second Hispanic male with MEDRANO who entered the passenger seat of the
   vehicle. Agents then observed MEDRANO close the trunk and enter the driver's seat of
   the car and depart the residence. Agents maintained constant surveillance of the vehicle
   from MEDRANO's house to its destination at the Best Buy parking lot.
4. At approximately 4:30 p.m., agents observed MEDRANO's black Chevy Cruze enter the
   Best Buy parking lot and park next to UCA-2's vehicle. Agents then observed UCA-2
   and MEDRANO get out of their vehicles and engage in conversation. During
   conversation agents observed MEDRANO open the trunk of his vehicle and take out a
   large cardboard box and place the box in UCA-2's vehicle. UCA-2 then looked inside
   the box and counted thirteen (13) bundles, believed to be cocaine. UCA-2 explained that
   he/she needed to call UCA-1 to confirm the amount of bundles collected. Upon
   confirming the amount, UCA-2 informed MEDRANO that the amount collected was
   correct. MEDRANO then told UCA-2 that he was waiting on a call as to when he needed
   to pick up an additional five (5) kilograms of cocaine. MEDRANO continued by
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                                     Attachment            A
        informing UCA-2 that he felt he would probably pick up the additional kilograms of
        cocaine sometime later that night. MEDRANO said he would contact UCA-2 when he
        had them in hand ready for delivery. UCA-2 acknowledged, and shortly after, both
        UCA-2 and MEDRANO parted ways.
    5. UCA-2 turned over the cardboard box containing the thirteen bundles to an HSI seized
        property specialist who tested the bundles using a trunarc test kit. The bundles contained
        a white powdery substance which tested positive for the properties of cocaine and had a
        gross weight of 14.95 kilograms of cocaine.
    6. On November 7, 2017, agents located MEDRANO in the Wal-Mart parking lot located at
        12236 Montana Avenue, El Paso, Texas and placed MEDRANO under arrest. El Paso
        County Sheriff's Office Detective Miguel Liano read Miranda warnings to MEDRANO
       which was witnessed by SA Vance Belyeu. MEDRANO stated he understood his rights
       and stated he was willing to make the following non-verbatim statements without the
       presence of an attorney. This interview was not recorded at the request of MEDRANO.
    7. MEDRANO stated two days before he delivered the cocaine to UCA-2 that he met with
       an unknown Hispanic male near his residence. MEDRANO stated the Hispanic male
       gave him the cardboard box containing 16 or 18 bundles of cocaine. MEDRANO stated
       he then took the box to his residence where he stored the cocaine. MEDRANO then
       stated his associate called him and told him to take two bundles of cocaine out of the box
       and deliver the rest to an unknown person, who was UCA-2. MEDRANO stated the two
       bundles of cocaine that he took from the box were sold in El Paso, TX, for $24,000 in
       United States currency (USC) a piece. MEDRANO stated he received $24,000 in USC
       from the sale of one of the bundles of cocaine.


Based on the foregoing facts, I respectfully request a criminal complaint to be issued against
MEDRANO for violation of Title 21 United States Code 841/846.
